          Case 2:19-cr-00064-JLS Document 236 Filed 11/02/21 Page 1 of 1




                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA


   UNITED STATES OF AMERICA


               v.                                                                CRIMINAL ACTION
                                                                                     No. 19-64

   JOHN DOUGHERTY and ROBERT HENON,




                                                    ORDER

       AND NOW, this 2nd day of November, 2021, upon review of Defendant Dougherty’s and

Defendant Henon’s Motions for Judgment of Acquittal and the responses thereto it is hereby

ORDERED that the Motions for Judgment of Acquittal are GRANTED IN PART and DENIED

IN PART. The Motions for Judgment of Acquittal are Granted to the extent that Defendant

Dougherty shall be stricken from any allegation of his involvement with the PPA-related overt

acts. The Motions for Judgment of Acquittal are Denied in their entirety otherwise.



                                                               BY THE COURT:

                                                               /s/ Jeffrey L. Schmehl
                                                               Jeffrey L. Schmehl, J. 1




   1
               The Court will write a Memorandum Opinion explaining its decision and file it as soon as
   possible.
